           Case 1:17-cv-01077-YK Document 60 Filed 09/20/18 Page 1 of 5




               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DUSTIN MCCORKLE,                      :     Jury Trial Demanded
            Plaintiff                 :
                                      :     1:17-cv-1077
      v.                              :
                                      :     Judge Kane
JEFFERY SHUBERT, et al.,              :
     Defendants                       :     Civil Action


                MOTION TO WITHDRAW AS COUNSEL,
                MOTION TO SCHEDULE A CONFERENCE
                              AND
              MOTION TO EXTEND DISCOVERY DEADLINES

      AND NOW comes, Vincent M. Monfredo, Esq., and submits the following

request to withdraw as counsel, request for an extension of deadlines, and request

to schedule a conference:

1     Most recently, the Honorable Judge Yvette Kane entered a Case

      Management Order (Doc. 56) granting the parties an extension of deadlines,

      which included closing factual discovery by 10/1/2018.

2     The parties in this matter had scheduled depositions of numerous parties and

      fact witnesses for September 19-21, 2018.

3     Today, September 19, 2018, the parties by way of their respective counsel

      began discussing possible settlement options while awaiting the first
       Case 1:17-cv-01077-YK Document 60 Filed 09/20/18 Page 2 of 5




     deposition to start.

4    Undersigned counsel attempted to contact Plaintiff to discuss a possible

     settlement and the case going forward.

5    Plaintiff’s phone was not able to take calls and undersigned counsel was

     forced to communicate by text.

6    The conversation ultimately resulted in the undersigned and Plaintiff

     reaching irreconcilable differences.

7    There is no way that undersigned can continue to represent Plaintiff based

     on the statements made by Plaintiff to undersigned and about undersigned.

8    Plaintiff threatened to release my communications with him to the public,

     write negative reviews about undersigned, and threatened to falsely accuse

     undersigned of showing up to court hung over.

9    Plaintiff now seems on a mission to slander and/or damage the

     undersigned’s reputation.

10   Plaintiff stated he would not talk about the case with undersigned until he

     found a “real attorney” and failed to discuss or respond to settlement offers.

11   Undersigned now seeks permission to withdraw as counsel.

12   Counsel for all defendants were contacted and do not have a position on this

     matter between undersigned counsel and Plaintiff, but do concur in the
        Case 1:17-cv-01077-YK Document 60 Filed 09/20/18 Page 3 of 5




      requests to follow.

      WHEREFORE, undersigned counsel respectfully requests this Honorable

Court enter an ORDER permitting Vincent M. Monfredo, Esq. permission to

withdraw as counsel.

 MOTION TO SCHEDULE CONFERENCE AND EXTEND DEADLINES

13    Numerous depositions of the parties and witnesses were scheduled for

      September 19 to 21 in order to comply with the most recent Court Order and

      case management plan.

14    The depositions were halted today after Plaintiff and undersigned reach

      irreconcilable differences.

15    The parties will still need to proceed with depositions and discovery.

16    The parties are asking to schedule a conference to discuss the matter going

      forward and respectfully request an extension of the deadlines set forth in

      the most recent Court Order (Doc. 56).

17    Counsel for defendants were contacted and concur with the request for a

      conference and the request to extend discovery deadlines.

      WHEREFORE, undersigned counsel respectfully requests this Honorable

Court enter an ORDER scheduling this matter for a conference.
  Case 1:17-cv-01077-YK Document 60 Filed 09/20/18 Page 4 of 5




                             s/ Vincent M. Monfredo
Dated: 9/19/2018             _______________________________
                             Vincent M. Monfredo, Esquire
                             Supreme Court I.D. No.: 206671
                             Attorney for Plaintiff

                             LAGUNA REYES MALONEY, LLP
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           Case 1:17-cv-01077-YK Document 60 Filed 09/20/18 Page 5 of 5




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            Plaintiff                  :
                                       :      1:17-cv-1077
      v.                               :
                                       :      Judge Kane
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     Defendants                        :      Civil Action

                         CERTIFICATE OF SERVICE


      I hereby certify that on this date, I served a true and correct copy of this

filing through the Court’s ECF system to Defendants’ Counsel and to Plaintiff via

email and first-class mail (316 E. Burd St. Shippensburg, PA 17257 and

dustin.mcorkle@gmail.com).



                                       s/ Vincent M. Monfredo
      Dated: 9/19/18                   _______________________________
                                       Vincent M. Monfredo, Esquire
                                       Supreme Court I.D. No.: 206671
                                       Attorney for Plaintiff

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